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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
ANGELA HARRIS, )
)
Plaintiff, )
)
v. ) Civil Action File
) No.
TK TRANSPORT; and )
JAMES ROBERT MEADOR, )
)
Defendants. )
COMPLAINT

COMES NOW Plaintiff, Angela Harris, and hereby avers as follows:
I. THE PARTIES
1. Plaintiff is an individual resident of Ellenwood, DeKalb County, Georgia.

2. Defendant TK Transport (“Defendant”) is a corporation incorporated in

the State of Texas, with its principal place of business in Clute, Texas.
3. Defendant James Robert Meador is an individual resident of Clute, Texas,
Il. JURISDICTION AND VENUE

4, Federal diversity jurisdiction exist pursuant to 28 U.S.C. § 1332. Plaintiff
is an individual who resides in the State of Georgia. Defendant TK Transport is a

Texas corporation with its principal place of business in the Texas. Defendant

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James Neal Meador is an individual who resides in the State of Texas. Therefore,
complete diversity of citizenship exists. The amount of controversy, exclusive of

interest and cost, exceeds the sum of $75,000.00.

5. Venue in the Northern District of Georgia is proper pursuant to 28 U.S.C.
§1391 because Plaintiff is located in this District, a substantial part of the claims

asserted by Plaintiff herein are based in this District.
Ill. GENERAL AVERMENTS
6. Defendant TK Transport is a trucking company located in Clute, Texas.

7. Defendant James Robert Meador is a commercial truck driver who was
employed by TK Transport at the time the incident occurred on which the claims

asserted by Plaintiff are based.

8. That on June 11, 2021, Defendant Meador negligently operated his
commercial operated vehicle, a 2018 Dodge R35 with a 40-foot trailer attached
while traveling on I-24E at the Exit 64 off ramp at Waldron Road, in the City of
Lavergne, Rutherford County, Tennessee.

9. That according to the attached Police Incident Report, the Defendant was
traveling at a high rate of speed while hauling large pipes weighing approximately
13, 000 pounds on an attached trailer when he collided with Plaintiff while she was

parked on the off ramp due to mechanical problems with her hazard lights on.

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10. The collision caused Plaintiff to suffer a loss to her vehicle and severe
bodily injuries.

11. The Defendant Meador owed duties of due and reasonable care to
Plaintiffs, as well as to other motorist on the road.

12. Defendant Meador’s negligence, which constitutes the direct and
proximate cause of injuries to Plaintiff, also consisted of, but was not limited to the
following:

(a) Failing to exercise ordinary diligence in violation of Georgia Law

pursuant to O.C.G.A. § 51-1-2;

(b) Failure to maintain reasonable control of vehicle;

(c) Failure to operate vehicle in a safe fashion under the circumstances then

existing;

(d) Failure to take evasive or other reasonable action in order to control

vehicle or main lane;

(e) Failure to exercise ordinary care;

(f) Failure to keep a proper lookout;

(g) Committing other reckless and negligent acts and omissions, as shall be

shown by the evidence and proven at trial;

 
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13. At all times material hereto, Plainti

a safe and lawful manner and did not in any w

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ff Angela Harris conducted herself in

ay cause or contribute to the

circumstances which caused her to sustain serious bodily injuries and damage to

her vehicle.
14. As a direct and proximate result of ]
Angela Harris has suffered and will continue t
(a) past, present and future physical and
(b)past, present and future loss of enjoy!

(c) past, present and future loss of earnin
(d)past, present and future loss of ability

other damages.

15. As a direct and proximate result of t
collision caused by the negligence of Defendar

damages to his vehicle and insubstantial medic
COUNT I- SPECI

16. Plaintiff hereby incorporates the ave
through 15, above, as if set forth in full herein.
17. Plaintiff incurred at total of $617,86:
mention the trauma, daily anxiety, and fear she

traumatic driving incident.

Defendants’ negligence, Plaintiff
) suffer the following;

mental pain and suffering;

ment of life;

igs and income; and

to labor and earn money, as well as

he injuries sustained in the subject
its, Plaintiff has incurred extensive

al expenses as special damages.

AL DAMAGES

rments set forth in paragraphs 1

2.75 in Special Damages, not to

now faces as a result of such a

 

 
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18. The Plaintiff now suffers a diminished quality of life as a result of her

injuries, and the pain she suffered during her treatment, as well as the pain she will

continue to suffer throughout the remainder of

wages.

her natural life, including lost

19. The Plaintiff has incurred the following itemized Special Damages as a

result of her injuries:

Stone Crest Medical Center
Emergency Treatment, Dr. Nicholas Strane

AICA Orthopedics, P.C.

General Rehabilitation Treatment by Staff Physicians

Roderique Surgery Center

Referral by AICA for specific wrist damage and surgery,

Dr. Robert Karsch

Summit Surgery Center

Referral by AICA for specific Cervical/Thoratcic

and Lumber and surgical epidural injections,
Dr. Francis Acquah

Summit Surgery Center-Required Neck Surge
Referral by AICA for required One Level Cer
Arthrodesis Fusion at C5-C6 including disc sf
Discectomy and decompression with bone grd
Installed, Dr. Francis Acquah

Summit Surgery Center-Required Back Surge

$33,025.86
~ $31,019.00
$28,098.49
$51,384.40
ry $130,207.00
vical
bace preparation,
»wth stimulator
ry $244,128.00

 

 
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Referral by AICA for Required One Level Ar
Lumber Arthrodesis Anterior decompression
L5-S1 with General Surgeon doing initial inc
of anterior incision with implants/hardware in
Dr. Francis Acquah

Total Medical Damag

‘Loss of Income:

Total Special Damage

20. Plaintiffs will continue to require an
medical expenses due to his painful injuries.
21. By reason of the foregoing, Plaintiff
Defendant compensatory and other damages in
the evidence at trial and determined in the enlig
no less than $2,000.000.00.
JURY DEMA

22. Plaintiff respectfully demands a trial

WHEREFORE, Plaintiff prays as follows:

(a) On Count One of its Complaint, for D

at trial, but no less than $2,000,000.0¢

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throscopic
and fusion at
ision and close

stalled,

es: $517,862.75
$100,000.00

S: $617,862.75

d incur reasonable and necessary

is entitled to recover from
such amounts as may be shown by

thtened conscience of the jury, but

ND

by jury.
lamages in a sum according to proof

) exclusive of interest and costs;

 

 
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(b) For a trial by jury;
(c) For pre-and post-judgment interest;
(d)For cost incurred herein; and

(e) For such other and further relief as the Court deems just and proper.

Respectfully submitted, this 1% day of June, 2021.

/s/Donell Holiday
Donell Holiday
Attorney for Plaintiff
Georgia Bar Number 351160
P.O. Box 4596
Atlanta, Georgia 30302

(678) 358-1316
dholidaylaw@yahoo.com

 
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Defendants. )

CERTIFICATION OF COUNSEL
I hereby certify that the foregoing COMPLAINT has been prepared with

Times New Roman, 14-point font, one of the font and point selections approved by

the Court in LR 5.1.

/s/ Donell Holida
Donell Holiday

Georgia Bar No. 361150

 
